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                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA


                                              )
 Make the Road New York, et al.,              )
                                              )
                 Plaintiffs,                  )
                                              )
 v.                                           )        Civil Action No. 1:19-cv-02369-KBJ
                                              )
 Kevin McAleenan, et al.,                     )
                                              )
                 Defendants.                  )
                                              )

                                       STATUS REPORT

        The parties submit this response to the Court’s order issued June 7, 2021, continuing the

stay of this case entered February 8, 2021, “and requiring the parties to “file a status report ...

which shall include a proposed schedule for further proceedings if litigation is going to be

necessary.” As explained below, the parties agree that the case should remain stayed pending

ongoing review of the designation at issue in this case and propose that the parties submit a status

report on November 1, 2021, 91 days from the date of this filing (the 90th day is a Sunday), to

update the Court on the status of the designation.

Defendants’ Position

        Defendants believe that the case should remain stayed pending review of the designation

at issue in this case.

        1.       As explained in Defendants’ prior submissions (ECF 75, ECF 78), several

intervening events impact this case. On January 20, 2021, President Biden signed an Executive

Order revoking Executive Order 13768, Enhancing Public Safety in the Interior of the United

States, issued January 25, 2017. See Executive Order 13993 on the Revision of Civil Immigration

Enforcement Policies and Priorities, 86 Fed. Reg. 7051 (Jan. 25, 2021). Executive Order 13768


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directed the Department of Homeland Security (DHS) to, among other things, prioritize the

removal of certain non-citizens described in 8 U.S.C. § 1225, the provision authorizing expedited

removal of non-citizens.

        2.        That same day, the DHS separately issued a memorandum directing the its

“components to conduct a review of policies and practices concerning immigration enforcement.”

See Review of and Interim Revision to Civil Immigration Enforcement and Removal Policies and

Priorities,                                       available                                        at

https://www.dhs.gov/sites/default/files/publications/21_0120_enforcement-memo_signed.pdf

(last accessed April 6, 2021). Among other things, this memorandum identified interim civil

enforcement priorities: national security, border security, and public safety, and directed

Immigration and Customs Enforcement (ICE) to issue further interim guidance. Id. at 2.

        3.        On February 18, 2021, ICE issued that guidance. See Interim Guidance: Civil

Immigration          Enforcement        and       Removal         Priorities,      available        at

https://www.ice.gov/doclib/news/releases/2021/021821_civil-immigration-enforcement_interim-

guidance.pdf (last accessed April 6, 2021). The guidance applies to “all civil immigration

enforcement and removal decisions made after the issuance of this memorandum,” including

“when and under what circumstances to execute final orders of removal.” Id. at 3. The guidance

provides that only certain categories of noncitizens will be “presumed to be priorities” for

enforcement or removal actions, including noncitizens who (1) have engaged in or are suspected

of engaging in terrorism or terrorism-related activities or espionage or espionage-related activities,

(2) unlawfully entered or were not physically present in the United States on or after November 1,

2020, or (3) have been convicted of an aggravated felony as defined by 8 U.S.C. § 1101(a)(43) or

an offense for which an element is active participation in a criminal street gang. Id. at 4-5.




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       4.       In addition, on February 2, 2021, the President issued an Executive Order directing

DHS to “promptly review and consider whether to modify, revoke, or rescind” the designation at

issue in this case. Executive Order 14010, Creating a Comprehensive Regional Framework to

Address the Causes of Migration, to Manage Migration Throughout North and Central America,

and to Provide a Safe and Orderly Processing of Asylum Seekers at the United States Border §

4.b.ii, 86 Fed. Reg. 8267, 8270 (Feb. 5, 2021). The Executive Order also directed DHS to take

review numerous other policies impacting asylum, expedited removal, and the border, including

“ensuring a timely and fair expedited removal process.” Id., § 4.b.i, see id, §§ 3, 4.

       5.       DHS previously anticipated completing that review by August 2, 2021. See ECF 78

at 3. However, in conjunction with its continued review of its policies, including other reviews

pursuant to Executive Order 14010, DHS’s review of the designation at issue in this case is

ongoing, and DHS now anticipates completing its review by or before October 29, 2021.

       6.       In light of the foregoing, Defendants respectfully submit that the case should remain

in abeyance, to allow the Department to complete a review of its policies, including a review of

the designation at issue in this case, and to consider whether modifying or rescinding that

designation is warranted. An abeyance will continue to serve judicial economy and prevent the

expenditure of further resources by the Court and the parties, see Save Jobs USA v. Dep’t of

Homeland Sec., 942 F.3d 504, 508 (D.C. Cir. 2019), and allow for further government action that

may obviate the need for any further proceedings in this case, including resolving the pending

motion for preliminary injunction. See, e.g., Wash. Alliance of Tech. Workers v. U.S. Dep’t of

Homeland Sec., 650 F. App’x 13, 14 (D.C. Cir. 2016). An abeyance also accords with the D.C.

Circuit’s practice to hold regulatory challenges in abeyance when a change in administration

occurs. See Am. Lung Ass’n v. Envtl. Prot. Agency, No. 19-1140, 2021 WL 162579, at *9 (D.C.

Cir. Jan. 19, 2021); accord Save Jobs USA, 942 F.3d at 508. Finally, in the event Plaintiffs become


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aware that any of their members are subject to an enforcement action resulting in possibly

imminent removal during the pendency of any abeyance of this case, they can bring that to the

government’s attention or, absent any other option, seek immediate relief with the Court.

       7.       Defendants further propose that the parties submit a status report on October 31,

2021, 90 days from the date of this filing, to update the Court on the status of the designation.

       Plaintiffs’ Position

       1.       Plaintiffs are not aware of instances of the challenged designation’s application

while it has been under review.

       2.       Plaintiffs therefore agree that a further 90-day abeyance of the case is appropriate,

and that the parties should submit a status report on November 1, 2021 to update the Court.



                                                  Respectfully submitted,

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Dated: August 2, 2021                             Attorneys for Defendants




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                               CERTIFICATE OF SERVICE

       I hereby certify that on August 2, 2021, I electronically filed the foregoing document with

the Clerk of the Court for the United States Court District Court for the District of Columbia by

using the CM/ECF system. Counsel in the case are registered CM/ECF users and service will be

accomplished by the CM/ECF system.



                                By: /s/ Erez Reuveni
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